                                               Case 3:12-cv-04000-EMC Document 426 Filed 12/16/16 Page 1 of 2



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Three Embarcadero Center, 7th Floor




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      San Francisco, CA 94111




                                      11 Attorneys for Plaintiffs
                                         CIRCLE CLICK MEDIA LLC and
          Bryan Cave LLP




                                      12 CTNY INSURANCE GROUP LLC

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                                                                           UNITED STATESDISTRICT COURT
                                      15                                 NORTHERN DISTRICT OFCALIFORNIA

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                                         CIRCLE CLICK MEDIA LLC, a California                Case No. 3:12-CV-04000 EMC
                                      17 limited liability company, METRO TALENT,
                                         LLC, a California limited liability company;        Honorable Edward Chen
                                      18 and CTNY INSURANCE GROUP LLC, a
                                         Connecticut limited liability company, on           [PROPOSED]JUDGM ENT
                                      19 behalf of themselves and all others similarly
                                         situated,
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                                                          Plaintiffs,
                                      21
                                                 v.
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                                         REGUS MANAGEMENT GROUP LLC, a
                                      23 Delaware limited liability company, REGUS
                                         BUSINESS CENTRE LLC, a Delaware
                                      24 limited liability company; REGUS plc, a
                                         Jersey, Channel Islands, public limited
                                      25 company; HQ GLOBAL WORKPLACES
                                         LLC, a Delaware limited liability company;
                                      26 and DOES 1 through 50,

                                      27                        Defendants.

                                      28
                                                                                  [PROPOSED] JUDGMENT
                                                                               CASE NO. 3:12-CV-04000-EMC
                                            SF01DOCS\293489.1
                                              Case 3:12-cv-04000-EMC Document 426 Filed 12/16/16 Page 2 of 2




                                       1           This action having come before the Court, The Honorable Edward M. Chen,
                                       2 District Judge, presiding, and the Court having been notified that plaintiffs Circle Click

                                       3 Media LLC and CTNY Insurance Group LLC (“Plaintiffs” ) have accepted an Offer of

                                       4 Judgment Pursuant to Rule 68 of the Federal Rules of Civil Procedure dated November

                                       5 28, 2016, (“Offer of Judgment” ) from Defendants Regus Management Group LLC, Regus

                                       6 Business Centre LLC, Regus plc, HQ Global Workplaces LLC (“Defendants” ),

                                       7           It is ORDERED AND ADJUDGED that judgment is entered subject to the terms
                                       8 of the Offer of Judgment (Doc. 423-1) in favor of plaintiff Circle Click Media, LLC

                                       9 against Defendants, jointly and severally, in the total amount of one thousand dollars
Three Embarcadero Center, 7th Floor




                                      10 ($1,000), and in favor of plaintiff CTNY Insurance Group, LLC against Defendants,
      San Francisco, CA 94111




                                      11 jointly and severally, in the total amount of one thousand dollars ($1,000).
          Bryan Cave LLP




                                           The Clerk of the Court is directed to vacate all hearings and close this case.
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                                      13           Entered at San Francisco, California, this ________
                                                                                                16th day of December 2016.

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                                      15                                                  TA Edward M. Chen
                                                                                    Honorable

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                                                                                    United States District Judge
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                                                                              [PROPOSED] JUDGMENT
                                                                           CASE NO. 3:12-CV-04000-EMC
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